Case 2:03-cV-02561-.]DB-STA Document 127 Filed 06/09/05 Page 1 of 3 Page|D 129

IN THE UNITED sTATEs DISTRICT CoUmFMf`-D B`*' %~ D'G'

FOR THE WESTERN DISTRICT oF TENNESSEE .
AT MEMPHIS 05 JUH -9 bn ll- 03

“ issue
§§ng fin hist cT.
W.n. ns m deems
NACCo MATERIALS HANDLING
GROUP, INC., d/b/a YALE MATERIALS

HANDLING CORPORATION,
Plaintiff,
No. 03-2561-B A

VS.

'I`OYO'I`A MATERIAL HANDLING,
U.S.A., INC. and THE LILLY COMPANY,

Defendants.

ORDER GRANTING LEAVE TO FILE BRIEF IN EXCESS OF TWENTY PAGES
Upon the Motion for Leave to File Brief` in Excess of Twenty Pages filed by the
Defendant Toyota Material Handling, U.S.A., Inc. and for good cause shown, the Court finds
that such motion is Well taken and should be granted Defendant Toyota Material Handling,
U.S.A., Inc. shall be and hereby is granted permission to file its Memorandum in Support of
Motion for Summary Judgment which was previously submitted to the Court and Which exceeds
twenty pages in length. lt is so ORDERED.

$\
ENTERED this § day of June, 2005.

;B…

. D EL BREEN \
Unite States District Court Judge

Tius document entered on the docket sheet in compliance
with Fiu!e 58 and/or 7‘9(a) FFICP on "

   

UNITE STATES DISTRICT OURT - WESETRNDTISRIC oF TNNESEE

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Honorable .1. Breen
US DISTRICT COURT

